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                                                                                                Frontier Airlines
                                                                                                Job Description

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                Position Summary: (Succinct statement (1 to 3 sentences) of the basic purpose of the position).

                The Frontier Airlines Flight Attendant is essential to maintaining the well -being, safety, security and comfort
                of our passengers onboard our aircraft. The Flight Attendant performs a variety of services in order to
                maintain a high level of excellent customer service. Flight Attendants are involved in all passenger
                interactions in order to help answer any questions, address concerns, and sell products onboard. It is
                essential for all crew members to follow established FAA and Frontier guidelines in providing for the comfort
                and safety of passengers and respond to inflight emergencies and/or security concerns in the unlikely event
                they arise.

         II.    Essential Functions: (In order of importance, list only those functions that are necessary to carry out the
                purpose of the position. Include the percentage of time spent on each function.)

                     Follows all Federal Aviation Regulations as required as well as all established Frontier Airlines Policies
                    and procedures.
                     Initializes and conducts emergency evacuation of cabin if necessary.
                    Conducts preflight safety check of cabin emergency equipment.
                     Ensures proper loading and storage of carry-on luggage prior to and during the flight.
                     Ensures cabin safety and security during all phases of flight, including boarding and deplaning.
                     Prepares and secures doors and announces departure /arrival Information to passengers over the PA
                    system.
                    Provides instruction and demonstration of onboard safety features.
                    Sets up galley, brews coffee, checks supplies, stows beverage carts/snacks and verifies count.
                    Serves snacks and /or beverages (including alcohol), collects and stows all beverage and snack service
                    items inflight and prior to landing, and informs passengers of all onboard products,
                    Heavy lifting, pushing and /or pulling of objects up to 200 pounds occasionally and/or up to 50 pounds
                    frequently
                    Other duties as required

         Ill.   Other Functions: (Those that are marginally important to the position)

         IV.    If management or supervisory position, which positions report directly to this one?


         V.     Qualifications: (Formal education or training required; amount and type of prior experience required)

                    High school graduate or GED required
                    MUST BE 21 years of age to begin the interview process
                    1 to 2 years of customer service experience preferred

                    Participate and comply with all DOT, FAA, and Frontier Airlines' regulations regarding drug and alcohol
                    compliance of safety-sensitive transportation employees
                    Willingness to work flexible hours /schedules including nights, weekends and holidays
                    Valid passport is required, the ability to travel in and out of the United States, and the ability to travel to
                    all current and future international destinations served by Frontier Airlines is required.
                    Ability to sit in and be secured with seatbelt and shoulder harness in all jump seats without a seat belt
                    extension
                    Maintain a professional image and comply with all Flight Attendant uniform requirements, including no
                    visible tattoos or multiple piercing

         VI,    Knowledge, Skills and Abilities: (Mental and physical abilities required for the position)




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             Excellent interpersonal, oral, and written communication skills.
             Must be able to read, speak, write, and communicate in English fluently.
             Ability to communicate effectively with and reassure passengers in a hurried and stressful environment.
             Ability to work independently as a leader and as a team member among fellow employees and
             passengers.

 VII.    Working Conditions:
         Equipment - List all machines and equipment used directly in the performance of this position
         Includes, but not limited to: beverage /snack carts, galley equipment, POS devices /systems, flight stairs,
         aircraft cabin equipment including doors, and emergency equipment.

                               -
         Work Environment Describe the usual working environment (i.e. normal office, outdoors subject to
         weather variations, elevated noise levels etc.) Identify irregular work shifts, on-call, or multiple work location
         requirements.
                 Working environment subject to varying climate conditions, air turbulence, changing locations,
                 variable hours, dry air, noise levels from engines and other equipment, dim lighting and confined
                 spaces.
                 Working environment is typically fast -paced and physically demanding.
                 Work shifts /hours vary including weekends, evenings and holidays,

         Physical Effort- How much physical effort is regularly required in this position? (Occasionally means the
         activity exists up to one -third of the time. Frequently means the activity exists from one -third to two -thirds of
         the time).
                    Perform frequent repetitive motions, to include bending at the waist and knees and sustaining
                   those positions for extended periods of time.
                   Must have 20/20 (or "sufficient') vision and hearing to safely perform the essential functions of the
                   position.
                   Ability to hear, interpret and respond to onboard chime systems, call buttons and announcements
                   or direction given over interphone and public address system.
                   Ability to stand throughout most of work shift.
                   Perform in- flight duties while in a pressurized cabin for extended periods of time.
                   Possess the physical strength to reach and operate all emergency equipment and exits.
                   Operate door and window exits in manual and emergency modes. (Can include weight of 33 lb
                   window exit and investigate door "emergency mode" resistance).
                   Push /pull /move a galley cart weighing 100 lbs.
                   Moderate physical activity required by handling objects up to 50 lbs occasionally and /or up to 35
                   lbs frequently.
                   Ability to lift a 35 lb luggage (occasionally - bags heavier than 50 lbs) from the floor to 33" (i.e.
                   floor to passenger seat).
                   Ability to lift a 35 lb luggage from 33" to 67" (i.e. passenger seat to overhead compartment). Bags
                   heavier than 35 lbs should be checked.
                   Ability to reach into overhead compartments with a height of 67' and depth of 28".
                   Ability to be properly secured in the cabin jumpseat by the safety belt and shoulder harness without
                   the use of seatbelt extensions.
                   Ability to balance and reach across seats and serve passengers.


Reviewed /Approved by:                Ern   / Compensation                   Date:        2/24/13


Disclaimer: The above statements are intended to describe the general nature and level of work being performed by the individuals
assigned to this position. They are not intended to be an exhaustive list of all responsibilities, duties and skills required of individuals in
this position. This position description is subject to change by the Company as the needs and requirements of the position change.




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